UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X                             6/26/2019
                                                          :
VICTOR LOPEZ, on behalf of himself and all :
other persons similarly situated,                         :
                                                          :
                                        Plaintiff,        :              19-CV-2859 (VSB)
                                                          :
                      -against-                           :                    ORDER
                                                          :
OSIB 50th Street Operator LLC, OSIB                       :
Bowery Street Operator LLC, OSIB-BCRE                     :
50th Street Holdings LLC, and OSIB-BCRE :
Bowery Street Holdings, LLC,                              :
                                                          :
                                        Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        It has been reported to the Court that this case has been settled. Accordingly, it is hereby:

        ORDERED that the above-captioned action is discontinued without costs to any party

and without prejudice to restoring the action to this Court’s docket if the application to restore

the action is made within thirty (30) days.

SO ORDERED.

Dated: June 26, 2019
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
